In The Matter Of:
Fayetteville Public Library, et al v.

Crawford County, Arkansas, et al

Miel Ann Delorey Partain
March 15, 2024
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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville,

State of Arkansas; EUREKA SPRINGS CARNEGIE

PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY

SYSTEM; NATE COULTER; OLIVIA FARRELL;

HAYDEN KIRBY;MIEL PARTAIN, in her own capacity

and as parent and next friend of MADELINE PARTAIN;
LETA CAPLINGER; ADAM WEBB;

ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR

ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a
WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND

and FREEDOM TO READ FOUNDATION, PLAINTIFFS

vs. NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his
official capacity as Crawford County Judge;

TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;

MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;

JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,
II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each and in his or her official capacity as a
prosecuting attorney for the State of Arkansas, DEFENDANTS

ORAL DEPOSITION
OF

MIEL ANN DELOREY PARTAIN

*e¥*e*ee% THE ABOVE-STYLED MATTER was reported by Michelle R.
Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
Law Firm, located at 1101 Walnut, Van Buren, Arkansas,

commencing on the 15th day of March 2023, at 10:16 a.m.
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INDE X
TOPIC
APPEARANCES
STIPULATIONS
WITNESS SWORN: Miel Ann Delorey Partain
Examination by Mr. McLelland
Examination by Mr. Watson
Examination by Ms. Brownstein
Examination by Mr. Adams
Further Examination by Mr. McLelland
Further Examination by Mr. Watson
Further Examination by Mr. Adams
REPORTER'S CERTIFICATE
EXHIBITS
NUMBER DESCRIPTION

Deft's 1 Copy of Amended Complaint-Document 75
(COPY OF EXHIBIT SCANNED INTO ETRANSCRIPT)

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statute uses. I know we're talking about books mostly.
Items actually covers a little bit more than that, so I
might use one or the other.

So what is your understanding about what types of
books or items are covered under Section 1?

A That they would harm -- be harmful to minors. I
don't really know what that definition of be harmful
entails specifically.

Q And that's totally fair. It's sort of a technical,
legal definition, so I certainly don't expect you to
understand the ins and outs of it.

And I read this one section to your daughter and I'1l
read it to you, also, because my next question is I'm
going to ask you is there any books or items that you are
aware of that fall under the definition, and, again, with
the caveat that I know you're not a lawyer and you haven't
spent the time that, you know, the lawyers and judges have
spent on this.

So the statute defines item as a material or a
performance that depicts or describes nudity, sexual
conduct, sexual excitement, or sadomasochistic abuse, and
also as part of the harmful minor's definition, those
traits have to be the predominant trait of the work.

So are there any books or items, that you are aware

of, that you would like to read or plan on reading that
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fit that definition as you understand it?

MS. BROWNSTEIN: I object, again, that
that's -- she's not an attorney and with that
objection she cannot possibly understand what
that -- well, she could opine about what legally

would be considered harmful to minors are not
under that definition. With that objection, you
May answer.

A Can you ask it again?

Q Let me take a step back to try and address some of

this. Do you understand what nudity is?

Yes.

Do you understand what sexual conduct is?

Yes.

Do you understand what sexual excitement is?

Yes.

And do you understand what sadomasochistic abuse is?

Yes.

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Okay. So of those topics, are you aware of any book
or materials you want to read or view that is
predominantly about one of those topics?

A No.

Q Okay. So I want to move on to follow up on some of
the stuff that Mr. McLelland was asking you about Section

5 and the library piece of this.
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What is your understanding of how Section 5 works?
A The challenge section?
Q Yes, ma'am.
A That anybody would be able to challenge for a book to

be put into the sequestered area.

Q And what is your understanding of the sequestered
area and how would that operate?

A That whoever the deciding body is would decide if a
book met the definition of harmful to minors, and those
books would be put into an area that could not be accessed
by anybody under the age of 18.

Q Okay. So you would still be able to access it, for
example, and other adults?

A Correct.

Q Okay. Are you aware of any books that you would be
unable to access because of the challenge provision?

A No. Me personally, no.

Q Okay. So in your own words, how does Section 5, the
challenge provision, how does that affect you if you're
able to access any of the books or materials that you
would want to anyways?

A Well, my children are an extension of me and if they
don't have access to it, then it affects my home, my
household, and, also, I think that there would be a stigma

for anybody going into these special areas, whatever it
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CERTIFICATE

STATE OF ARKANSAS
COUNTY OF FAULKNER
RE: ORAL DEPOSITION OF MIEL ANN DELOREY PARTAIN

I, Michelle R. Satterfield, CCR, a Notary Public in and
for Faulkner County, Arkansas, do hereby certify that the
transcript of the foregoing deposition accurately reflects
the testimony given; and that the foregoing was
transcribed by me, or under my supervision, on my Eclipse
computerized transcription system from my machine
shorthand notes taken at the time and place set out on the
caption hereto, the witness having been duly cautioned and
sworn, or affirmed, to tell the truth, the whole truth and
nothing but the truth.

I FURTHER CERTIFY that I am neither counsel for, related
to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further that I am
not a relative or employee of any attorney or counsel
employed by the parties hereto, nor financially
interested, or otherwise, in the outcome of this action.
In accordance with the Arkansas Rules of Civil Procedure,
Rule 30(e), review of the foregoing transcript by the
witness was not requested by the deponent or any party
thereto.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 25th
day of March 2024.

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Michelle R. Satterfield, CCR
LS Certificate No. 570
Notary Public in and for
Faulkner County, Arkansas

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